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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 DEFENDANTS’ NOTICE OF MOTION
                                                  AND MOTION TO DISMISS OR FOR
14               Plaintiffs,                      SUMMARY JUDGMENT FOR LACK OF
                                                  PERSONAL JURISDICTION AND FOR
15         v.                                     PARTIAL SUMMARY JUDGMENT;
                                                  POINTS AND AUTHORITIES
16   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,            [Filed concurrently with Declarations of Yaron
17                                                Shohat, Terrence McGraw, and Joseph N.
                     Defendants.                  Akrotirianakis and [Proposed] Order]
18
                                                  Date: November 1, 2024
19                                                Time: 1:30 p.m.
                                                  Place: Courtroom 3, Ronald V. Dellums
20                                                       Federal Building & U.S. Courthouse,
                                                         1301 Clay Street, Oakland, California
21

22                                                Action Filed: 10/29/2019
23

24

25

26     REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
27

28
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 1           PLEASE TAKE NOTICE that on November 1, 2024, at 1:30 p.m., Defendants NSO
 2   Group Technologies Ltd. and Q Cyber Technologies Ltd. (collectively “NSO”) will bring on for
 3   hearing before the Honorable Phyllis J. Hamilton, United States District Judge, in the United States
 4   Courthouse, 1301 Clay Street, Courtroom 3, Oakland, California, a motion to dismiss or for
 5   summary judgment for lack of personal jurisdiction and for partial summary judgment. The motion
 6   is based on the following Points and Authorities; the Declarations of Yaron Shohat, Terrence
 7   McGraw, and Joseph N. Akrotirianakis (and the exhibits to those Declarations); the pleadings,
 8   papers, and records on file in this case; and such oral argument as may be presented.
 9           First, NSO moves to dismiss under Rule 12(b)(2), or for summary judgment under Rule 56,
10   because the Court lacks personal jurisdiction over NSO. Courts have treated such motions both as
11   motions for summary judgment, Stoliarov v. Marshmello Creative, LLC, 2021 WL 1781870 (C.D.
12   Cal. Apr. 7, 2021), and as motions to dismiss, Kiwijet, LLC v. Mena Technics Co., 2022 WL
13   20401312 (C.D. Cal. Dec. 16, 2022). 1 However the Court characterizes this motion, it should
14   “make any necessary factual findings and decide the jurisdictional issue” as a matter of law.
15   Berardinelli v. Castle & Cooke Inc., 587 F.2d 37, 39 (9th Cir. 1978). Second, NSO moves for
16   partial summary judgment under Rule 56 on: (1) all of Plaintiffs’ claims based on the use of
17   Pegasus; (2) Plaintiffs’ Computer Fraud and Abuse Act (“CFAA”) claim; and (3) Plaintiffs’
18   California Comprehensive Computer Data Access and Fraud Act (“CDAFA”) claim.
19                                    POINTS AND AUTHORITIES
20           Plaintiffs’ claims challenge actions Israeli corporations took in Israel to design a technology
21   licensed to foreign governments to use to investigate foreign crimes. The only connection this case
22   has to California (or even the United States) is that Plaintiffs, like nearly every other large tech
23   company, placed their headquarters in the Bay Area. For that reason, California has never had any
24   basis to exercise personal jurisdiction over NSO. To argue otherwise, Plaintiffs told this Court that
25   NSO’s “Pegasus” technology “sought out specific [WhatsApp] servers—including servers in
26   California—in order to transmit malicious code through those servers.” (Dkt. 111 at 22 (emphases
27   1
      When a defendant moves to dismiss pre-trial for lack of personal jurisdiction, “the mode of [the
28   motion’s] determination is left to the trial court.” Data Disc, Inc. v. Sys. Tech. Assocs., Inc., 557
     F.2d 1280, 1285 (9th Cir. 1977).

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 1                                                                  (Akro. Exh. I at 67:15-24.) 3
 2

 3

 4                           (McGraw Decl. ¶¶ 30-39.) As Plaintiffs admitted,
 5

 6   (Akro. Exh. P at 4.)
 7                          (McGraw Decl. ¶¶ 80-85; Akro. Exh. L at 183:1-184:7.) Nor had NSO
 8                                                                       (Akro. Exh. K at 200:25-201:10.)
 9

10                                                                          (McGraw Decl. ¶ 74).
11

12

13                                              (Id. ¶¶ 20-28, 41-54.)
14                                                                                                      (Id.)
15            Signaling Servers. WhatsApp signaling servers
16                                           (McGraw Decl. ¶ 20.) In 2019, all of WhatsApp’s signaling
17   servers were                                                           (Akro. Exh. L at 184:21-185:9.)
18

19                                                                                                    (Akro.
20   Exh. L at 86:1-19.) At that point,
21                          (McGraw Decl. ¶ 21; Akro. Exh. L at 89:4-90:6, 96:25-98:16, 102:4-104:15,
22   129:15-20.)
23                                                 (Id.)
24            Relay Servers. WhatsApp’s relay servers                                               (McGraw
25   Decl. ¶¶ 14, 26.) In 2019, WhatsApp’s relay servers
26                                                         (Akro. Exh. L at 82:15-17, 132:22-133:10.)
27
     3
28       NSO does not now have any
                   (Akro. Exh. H at 51:23-52:3.)
                                             5
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 1            WhatsApp’s
 2             using an algorithm                              (Akro. Exh. L at 81:17-82:21.) The signaling
 3   server
 4

 5                      (Akro. Exh. L at 117:21-121:20; McGraw Decl. ¶¶ 28, 47.) The signaling server
 6   then
 7            as Plaintiffs’ corporate designee testified,
 8               (Akro. Exh. L at 118:19-119:25; McGraw Decl. ¶¶ 28, 47.) The WhatsApp application
 9

10                                                                   (Akro. Exh. L at 120:1-121:2, Exh. I at
11   319:7-19; McGraw Decl. ¶¶ 28, 50.) Just like
12

13                                       (McGraw Decl. ¶¶ 48-54; Akro. Exh. I at 323:9-325:22.) 4 Thus,
14   it was always
15            As designed,
16

17                   (McGraw Decl. ¶¶ 65-79.)
18                                                                                   (Id. ¶¶ 34, 37, 39, 69;
19   Akro. Exh. K at 200:25-201:10, 202:10-18.) Nor did Pegasus
20

21                                    (McGraw Decl. ¶¶ 65-79.) Pegasus
22                                                               (id. ¶¶ 39, 65-79), and thus
23                                                                                         (Akro. Exh. L at
24   129:15-130:23). The only difference between
25                                                                                                 Plaintiffs
26   may not have liked
27                               (McGraw Decl. ¶ 67.)
28
     4
                                                       . (McGraw Decl. ¶ 45; Akro. Exh. I at 258:17-260:2.)
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 1   on an untrue allegation—that NSO deliberately “sought out specific [WhatsApp] servers” in
 2   California (Dkt. 111 at 22). Plaintiffs then conducted a yearslong fishing expedition that confirmed,
 3   contrary to Plaintiffs’ allegations, that NSO did not and could not purposefully target any
 4   California-based WhatsApp servers. Because Plaintiffs cannot prove NSO purposefully directed
 5   its alleged conduct at California servers, their primary theory of personal jurisdiction collapses.
 6   Their backup theories fare no better. This Court thus lacks personal jurisdiction over NSO.
 7            The Court need go no further to adjudicate this case. But if the Court chooses to address
 8   issues beyond jurisdiction, it should also grant NSO partial summary judgment on: (1) all claims
 9   based on the use of Pegasus by NSO’s customers, because Plaintiffs cannot attribute that conduct
10   to NSO and the act of state doctrine bars any such claim; (2) Plaintiffs’ CFAA claim, because they
11   cannot prove that NSO accessed WhatsApp’s servers “without authorization” or in a way that
12   “exceed[ed] authorized access,” and NSO’s R&D after December 2018 was all “lawfully authorized
13   investigative, protective, or intelligence activity” of the FBI, 18 U.S.C. § 1030(a)(2), (f); and (3)
14   Plaintiffs’ CDAFA claim, because they cannot prove NSO targeted any California computer.
15   I.       Plaintiffs cannot prove that NSO is subject to personal jurisdiction in California.
16            Plaintiffs “bear the burden” to prove that the Court may exercise personal jurisdiction over
17   NSO at all stages of the case, including “on [a] motion for summary judgment.” Vista v. USPlabs,
18   LLC, 2014 WL 5507648, at *4 (N.D. Cal. Oct. 30, 2014); see Data Disc, Inc. v. Sys. Tech. Assocs.,
19   Inc., 557 F.2d 1280, 1289 n.6 (9th Cir. 1977).          Plaintiffs must “prov[e] jurisdiction by a
20   preponderance of the evidence.” Stoliarov, LLC, 2021 WL 1781870, at *2 n.3; see Haisten v. Grass
21   Valley Med. Reimb. Fund, Ltd., 784 F.2d 1392, 1396 n.1 (9th Cir. 1986). Because Plaintiffs cannot
22   do so, the Court should dismiss their claims.
23            As a matter of federal due process, personal jurisdiction exists only if NSO’s contacts with
24   California support either general or specific personal jurisdiction. Schwarzenegger v. Fred Martin
25   Motor Co., 374 F.3d 797, 801-02 (9th Cir. 2004). Plaintiffs have never argued that NSO, an Israeli
26   corporation, is subject to general jurisdiction in California. Daimler AG v. Bauman, 571 U.S. 117,
27   137 (2014). Therefore, Plaintiffs must prove specific jurisdiction by proving that NSO “either
28   ‘purposefully direct[ed] [its] activities’ toward the forum or ‘purposefully avail[ed] [it]self of the

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 1   privileges of conducting activities in the forum.’” Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874
 2   F.3d 1064, 1068 (9th Cir. 2017). The “purposeful direction analysis” applies in cases, like this one,
 3   based on allegations that a defendant “engaged in tortious conduct from a location outside of the
 4   United States by remotely accessing servers located in the United States.” Hungerstation LLC v.
 5   Fast Choice LLC, 857 F. App’x 349, 351 (9th Cir. 2021). 6
 6           A.       NSO did not purposefully direct any case-related conduct toward California.
 7           To satisfy the purposeful direction test, also known as the “effects” test, Plaintiffs must
 8   prove that NSO “expressly aimed” case-related conduct “at the forum state.” Axiom Foods, 874
 9   F.3d at 1069 (cleaned up). This analysis focuses on “the defendant’s contacts with the forum State
10   itself, not the defendant’s contacts with persons who reside there.” Walden, 571 U.S. at 285. “Due
11   process requires that a defendant be haled into court in a forum State based on his own affiliation
12   with the State, not based on the ‘random, fortuitous, or attenuated’ contacts he makes by interacting
13   with other persons affiliated with the State.” Id. at 286. So Plaintiffs may not establish personal
14   jurisdiction simply by claiming that NSO targeted them—they must prove that NSO targeted
15   California. Id.; Axiom Foods, 874 F.3d at 1069-70; (Dkt. 111 at 24). They cannot do so.
16                    1.      NSO did not target WhatsApp’s California servers.
17           At the motion to dismiss stage, this Court found Plaintiffs had adequately pleaded specific
18   jurisdiction by alleging that NSO “sought out specific [WhatsApp] servers—including servers in
19   California—in order to transmit malicious code through those servers.” (Dkt. 111 at 22.) But
20   discovery has exposed that allegation as false. The undisputed record proves that NSO did not
21                target specific WhatsApp signaling or relay servers anywhere, much less in California.
22           First, NSO could not have targeted WhatsApp signaling servers in California because
23                                                            At the relevant times, all of WhatsApp’s
24   signaling servers were                                        (Akro. Exh. L at 184:21-185:9.)
25           Second, NSO did not purposefully use California relay servers as opposed to servers located
26   anywhere else. At the relevant times, WhatsApp had                                  of relay servers
27
     6
28    This Court previously held Plaintiffs could not establish purposeful availment (Dkt. 111 at 26-27),
     and Plaintiffs have no evidence supporting a different conclusion now.
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 1

 2                (Akro. Exh. L at 82:15-17, 134:11-19.) And
 3

 4

 5                                    (Akro. Exh. L at 119:3-121:2.)
 6

 7               (McGraw Decl. ¶¶ 47, 51-52.) A WhatsApp user
 8

 9                                                           (Akro. Exh. L at 82:3-5.) And once the
10   signaling server
11

12   (Akro. Exh. L at 82:3-21, 120:21-122:20; McGraw Decl. ¶¶ 28, 50.)
13          Pegasus                            (McGraw Decl. ¶¶ 48-54.) Because WhatsApp’s own
14   signaling servers
15

16                                         (Id. ¶¶ 50-52.) And once
17

18                                                              (Id.) To the contrary, Plaintiffs’ own
19   evidence shows that
20                                                             (Id.) That makes perfect sense: NSO’s
21   only motivation would be
22   (McGraw Decl. ¶¶ 43, 48, 53.) A server’s presence in California could not have made any
23   difference to NSO (Akro. Exh. I at 325:9-22), and Plaintiffs have no evidence suggesting otherwise.
24          These undisputed facts confirm that NSO did not “s[eek] out WhatsApp’s California-based
25   servers,” as Plaintiffs falsely told the Court. (Dkt. 111 at 24.) When NSO designed Pegasus, and
26   when NSO’s government customers used Pegasus, they did not direct their actions toward any
27   particular WhatsApp server, much less specific servers in California. Rather,
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 1                      In these circumstances, where “there is no . . . evidence that the defendants played
 2   any role in selecting the server’s location,” a “server’s location” cannot “establish personal
 3   jurisdiction.” GreatFence.com, Inc. v. Bailey, 726 F. App’x 260, 261 (5th Cir. 2018).
 4           That is true even when the defendant is accused of accessing the plaintiff’s own servers. As
 5   long as a defendant, like NSO, has no control over where the plaintiff’s servers are located and does
 6   not purposefully target specific servers based on their location, the servers’ location is due entirely
 7   to the plaintiff’s own “unilateral activity,” Walden, 571 U.S. at 286 (cleaned up), and is thus too
 8   “‘random,’ ‘fortuitous,’ [and] ‘attenuated’” to support specific jurisdiction, Broidy Cap. Mgmt.,
 9   LLC v. Qatar, 2018 WL 9943551, at *7 (C.D. Cal. Aug. 22, 2018); Karp v. Buchem, 2018 WL
10   4944995, at *3 (C.D. Cal. Mar. 23, 2018). 7
11           Here too,                                                                             is purely
12   “fortuitous” and does not show that NSO purposefully directed any conduct toward California. To
13   the extent that
14

15

16          Such “‘unilateral activity’ of a plaintiff” cannot support specific jurisdiction over NSO in
17   California. Walden, 571 U.S. at 286.
18                     2.     NSO’s alleged use of third-party servers cannot support jurisdiction.
19           In this Court’s motion to dismiss order, the Court rejected Plaintiffs’ argument that NSO
20   “expressly aimed [its] conduct at [California]” by allegedly “leas[ing] third-party servers” there.
21   (Dkt. 111 at 20-21.) Despite that ruling, Plaintiffs appear to continue to argue that NSO targeted
22   California by                                                                                       But
23   the evidence does not support the assertion that NSO used any California-based third-party servers,
24
     7
      See also Hungerstation, 857 F. App’x at 351 (defendant’s access to plaintiff’s data on U.S. servers
25   did not support jurisdiction because “the location of the servers was fortuitous”); X Corp. v. Ctr. for
     Countering Digital Hate Ltd., 2024 WL 1245993, at *10 (same, when “there [was] no support for the
26   notion that [defendant] specifically sought out any particular servers within the forum”); Guar. Rate,
27   Inc. v. Conn, 264 F. Supp. 3d 909, 921-22 (N.D. Ill. 2017) (access to plaintiff’s servers inadequate
     because the “role [the] servers play in [plaintiff’s] network is the result of conduct by [plaintiff]”);
28   cf. Hasson v. FullStory, Inc., 114 F.4th 181, 191 (3d Cir. 2024) (“transmitting computer code to a
     browser that happens to be in [the forum]” is not “sufficient to establish express aiming”).
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 1   to connect to” the QuadraNet IP address (Dkt. 55-2 ¶¶ 3-4), which Plaintiffs claimed “was located
 2   in Los Angeles, California” (Dkt. 55-6 ¶ 2). The Court held that evidence could not support specific
 3   jurisdiction because “the connection between defendants and any leased server located in California
 4   is fortuitous. Neither party controlled where the third parties placed their servers and the servers
 5   were not the ultimate target of [NSO’s alleged] intentional act.” (Dkt. 111 at 21.)
 6            That conclusion remains correct. Courts agree that personal jurisdiction does not exist “over
 7   a private foreign entity solely because that entity engaged in tortious conduct from a location
 8   outside of the United States by remotely accessing servers located in the United States.”
 9   Hungerstation, 857 F. App’x at 351. “Likewise, no authority supports the proposition that the act
10   of using a third-party company’s server in the United States to host illegally-obtained information,
11   without more, is sufficient to convey personal jurisdiction.” Id. Numerous courts had so held when
12   this Court issued its earlier decision, 10 and that consensus has only grown stronger since. 11
13            Those cases govern here because Plaintiffs have no evidence that NSO “made a deliberate
14   decision to locate [any] server in California.” Freeman, 2024 WL 1880147, at *2. “There is no
15   [evidence] that [NSO] agreed that [QuadraNet] would host the data in California, or even knew
16   where the data would be hosted.” Id. The record reflects only that
17

18                                 . (Akro. Exh. Q.) There is no evidence that NSO
19

20

21

22   10
        E.g., Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., 334 F.3d 390, 402 (4th Cir. 2003);
     Kazakhstan v. Ketebaev, 2017 WL 6539897, at *6-7 (N.D. Cal. Dec. 21, 2017); Sonterra Cap.
23
     Master Fund Ltd. v. Credit Suisse Grp. AG, 277 F. Supp. 3d 521, 590 (S.D.N.Y. 2017); Rosen v.
24   Terapeak, Inc., 2015 WL 12724071, at *9 (C.D. Cal. Apr. 28, 2015); Man-D-Tec, Inc. v. Nylube
     Prods. Co., 2012 WL 1831521, at *2 (D. Ariz. May 18, 2012).
25   11
        E.g., Doe v. Yardi Sys. Inc., 2024 WL 1601787, at *3 (C.D. Cal. Mar. 27, 2024); Zarif v.
     Hwareh.com, Inc., 2024 WL 1268167, at *5 (S.D. Cal. Mar. 25, 2024); Alhathloul v. DarkMatter
26   Grp., 2023 WL 2537761, at *6-7 (D. Or. Mar. 16, 2023); GeoSolutions B.V. v. Sina.com Online,
27   700 F. Supp. 3d 821, 828-29 (N.D. Cal. Oct. 27, 2023); Ross v. Abbott Vascular Inc., 2022 WL
     20275185, at *6 (N.D. Cal. Mar. 3, 2022); Prevail Legal, Inc. v. Gordon, 2021 WL 1947578, at *5-
28   6 (N.D. Cal. May 14, 2021); CrossFit, Inc. v. Fitness Trade sp. z o.o., 2020 WL 6449155, at *5-6
     (S.D. Cal. Nov. 2, 2020).
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 1                                                      (Akro. Decl. ¶ 12; Shohat Decl. ¶ 22; McGraw
 2   Decl. ¶¶ 57-59.) Therefore, the presence of a QuadraNet server in California would be entirely
 3   “fortuitous.” (Dkt. 111 at 21); see Zarif, 2024 WL 1268167, at *5 (defendant did not “target”
 4   California by using web host’s California servers because web host, “not [d]efendant, chose to
 5   locate its servers in California,” so the servers’ location “was merely ‘random’ or ‘fortuitous’”).
 6          Furthermore, “the level of contact created by the connection between an out-of-state
 7   defendant and a web server located within a forum” is “de minimis.” Carefirst, 334 F.3d at 402.
 8   NSO never operated any third-party server. (Akro. Exh. I at 285:7-9.) Plaintiffs claim only that
 9   NSO leased them and that NSO’s government customers used them “to send malware and other
10   commands to users’ devices but not WhatsApp’s servers,” so the servers were mere waypoints
11   between governmental Pegasus users and foreign targets with no connection to California. (Dkt.
12   111 at 21.) Even if Plaintiffs could prove (and they cannot) that Pegasus transferred some data
13   through third-party servers in California, such transient contacts with California would still be too
14   insignificant to establish purposeful direction. (Id.); Carefirst, 334 F.3d at 402. A contrary ruling
15   would create a dangerous precedent, moreover, under which “the Northern District of California
16   always would have jurisdiction in any case where a party hosts its data with a Silicon Valley
17   company.” Hungerstation, 2020 WL 137160, at *6. This District “is not an international court of
18   internet law,” and Plaintiffs should not be permitted to treat it like one. Id. (cleaned up).
19                  3.      Westbridge’s actions cannot support specific jurisdiction over NSO.
20          Unable to support specific jurisdiction with NSO’s own conduct, Plaintiffs appear to seek
21   to rely on Westbridge’s marketing activities in California. But Westbridge was a distinct entity
22   from NSO, and Plaintiffs have no evidence that could justify attributing Westbridge’s conduct to
23   NSO for purposes of personal jurisdiction.
24          To begin, Plaintiffs cannot attribute Westbridge’s conduct to NSO unless Westbridge and
25   NSO were alter egos. Am. Tel. & Tel. Co. v. Compagnie Bruxelles Lambert, 94 F.3d 586, 591 (9th
26   Cir. 1996). Before the Supreme Court’s decision in Daimler, the Ninth Circuit allowed courts to
27   exercise “general jurisdiction . . . under an agency theory.” Williams v. Yamaha Motor Co., 851
28   F.3d 1015, 1021 (9th Cir. 2017). But Daimler “invalidated [that] ‘agency’ test,” id., a holding that

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 1   “applies no less in the context of specific jurisdiction,” id. at 1024. Accordingly, “the agency test
 2   cannot be the basis of this Court’s exercise of specific jurisdiction,” and Plaintiffs must prove that
 3   Westbridge and NSO were alter egos. MSP Recovery Claims, Series LLC v. Actelion Pharms. US,
 4   Inc., 2024 WL 3408221, at *4 (N.D. Cal. July 12, 2024). 12 Plaintiffs cannot do so.
 5            To prove that two entities are alter egos, a plaintiff must prove “that there is such unity of
 6   interest and ownership that the separate personalities of the two entities no longer exist.” Williams,
 7   851 F.3d at 1021. That requires proof of the parent company’s “pervasive control over the subsidiary,
 8   such as when a parent corporation dictates every facet of the subsidiary’s business—from broad
 9   policy decisions to routine matters of day-to-day operation.” Ranza v. Nike, Inc., 793 F.3d 1059,
10   1073 (9th Cir. 2015) (emphasis added). Under this test, no reasonable jury could find that NSO
11   and Westbridge were alter egos. Even “a parent-subsidiary relationship is insufficient, on its own,
12   to justify imputing one entity’s contacts with a forum state to another for the purpose of establishing
13   personal jurisdiction,” Ranza, 793 F.3d at 1070, and                                         They were
14

15                 that “is insufficient to disregard the corporate form.” Apple Inc. v. Allan & Assocs.
16   Ltd., 445 F. Supp. 3d 42, 53 (N.D. Cal. 2020). 13 In addition, Plaintiffs cannot prove that NSO and
17   Westbridge “failed to respect corporate formalities.” Id. Among other things, Westbridge and
18   NSO
19                                                                Apple, 445 F. Supp. 3d at 53; (see Akro.
20   Exh. G at 270:2-271:14, 272:17-275:14, Exh. J at 273:6-277:19; Shohat Decl. ¶ 20). “This
21   evidence establishes that [NSO and Westbridge] are not alter egos.” Apple, 445 F. Supp. 3d at 53.
22            Additionally, Plaintiffs cannot prove, as they would have to, that NSO “dictate[d] every
23   facet of” Westbridge’s “day-to-day operation.”          Ranza, 793 F.3d at 1073-74.         Westbridge
24

25                      Id. at 1074; (see Akro. Exh. G at 290:2-7, Exh. J at 288:9-293:1, 314:14-315:5).
26   12
        Accord Aldrich v. NCAA, 484 F. Supp. 3d 779, 794 (N.D. Cal. 2020); Corcoran v. CVS Health
27   Corp., 169 F. Supp. 3d 970, 982 (N.D. Cal. Mar. 14, 2016); Los Gatos Mercantile, Inc. v. E.I.
     DuPont De Nemours & Co., 2015 WL 4755335, at *5 (N.D. Cal. Aug. 11, 2015).
     13
28      Ranza, 793 F.3d at 1073 (“Total ownership and shared management personnel are alone
     insufficient to establish the requisite level of control.”); GeoSolutions, 700 F. Supp. 3d at 828 (same).
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 1   Therefore, the mere fact that Westbridge                                                is insufficient
 2   as a matter of law to attribute its conduct to NSO. Ranza, 793 F.3d at 1075.
 3          The same would be true even if specific jurisdiction could be based on agency after Daimler.
 4   “[U]nder any standard for finding an agency relationship, the parent company must have the right
 5   to substantially control its subsidiary’s activities.” Williams, 851 F.3d at 1024-25; accord Bluestar
 6   Genomics v. Song, 2023 WL 4843994, at *23 (N.D. Cal. May 25, 2023). In practice, this “agency
 7   analysis” is “identical” to the test for “alter-ego liability” because it requires “parental control of
 8   the subsidiary’s internal affairs or daily operations.” Apple, 445 F. Supp. 3d at 56 (cleaned up); see
 9   In re Dynamic Access Memory, 2005 WL 2988715, at *7-8 (N.D. Cal. Nov. 7, 2005) (Hamilton,
10   J.) (rejecting specific jurisdiction based on agency when “each foreign parent defendant who
11   maintains an American subsidiary also maintains an independent and separate existence, controls
12   its own day to day activities, controls its own books, and maintains its own revenues”). Plaintiffs
13   cannot prove any such control by NSO over Westbridge.              Westbridge
14                                    and Plaintiffs have “no evidence [NSO] directed [Westbridge] to
15   sell [Pegasus] in California,” Tangle, Inc. v. Buffalo Games, LLC, 2023 WL 5672178, at *6 (N.D.
16   Cal. Sept. 1, 2023), or that NSO “ordered or required” any of Westbridge’s activities, CZ Servs.,
17   Inc. v. Anthem Ins. Cos., 2022 WL 4126281, at *2 (N.D. Cal. Sept. 9, 2022). Without such evidence
18   that NSO “actively directed [Westbridge’s] advertising and sales efforts,” NSO cannot be subject
19   to specific jurisdiction based on those efforts. Williams, 851 F.3d at 1023 n.3.
20          Finally, Westbridge’s marketing cannot support specific jurisdiction because Plaintiffs’
21   claims do not “arise out of or relate to” it. Yamashita v. LG Chem, Ltd., 62 F.4th 496, 503 (9th Cir.
22   2023) (cleaned up). The “‘effects test’ can only be satisfied if the plaintiff can point to contacts
23   which demonstrate that the defendant expressly aimed its tortious conduct at the forum, and thereby
24   made the forum the focal point of the tortious activity.” Hasson, 114 F.4th at 192 (cleaned up).
25   Westbridge’s marketing is not the “tortious activity” Plaintiffs challenge, id., and
26

27             . (See Akro. Exh. J at 202:6-20, 205:19-206:1; cf. Akro. Exh. H at 155:10-24, 171:23-
28   172:1.) And Westbridge’s marketing to                                                    failed, so no

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 1   California-based potential customer ever used Pegasus either. That marketing, therefore, has no
 2   connection to the conduct that Plaintiffs claim to be unlawful and lacks the “close relation” to
 3   Plaintiffs’ claims necessary to support specific jurisdiction. Yamashita, 62 F.4th at 506.
 4          B.      NSO is not subject to nationwide jurisdiction under Rule 4(k)(2).
 5          Plaintiffs also previously argued that NSO is subject to nationwide jurisdiction under Rule
 6   4(k)(2). But “[t]he Ninth Circuit has urged cautious application of Rule 4(k)(2),” Hungerstation,
 7   2020 WL 137160, at *7, which permits jurisdiction only if a defendant has “significant” and
 8   “extensive contacts” with the United States as a whole, Holland Am. Line Inc. v. Wartsila N.A.,
 9   Inc., 485 F.3d 450, 462 (9th Cir. 2007). NSO lacks such contacts.
10          First, Courts routinely reject Rule 4(k)(2) jurisdiction based on a defendant’s alleged use
11   of U.S.-based servers. Hungerstation, 857 F. App’x at 350-51; X Corp., 2024 WL 1245993, at *6-
12   11; Alhathloul, 2023 WL 2537761, at *6-8; CrossFit, 2020 WL 6449155, at *9-10; Sonterra, 2020
13   WL 137160, at *7. As with NSO’s alleged use of California servers, Plaintiffs have no evidence
14   that NSO purposefully targeted either WhatsApp or third-party servers based on their location in
15   the United States, so any contacts between NSO and U.S.-based servers “are too weak to satisfy
16   the due process demands of personal jurisdiction.” Ross, 2022 WL 20275185, at *6.
17          Second, Plaintiffs cannot attribute Westbridge’s U.S. marketing to NSO because
18   Westbridge was not NSO’s alter ego or agent for purposes of personal jurisdiction. If NSO were
19   Westbridge’s alter ego, then NSO would be subject to general jurisdiction in Westbridge’s home
20   state of Delaware. Williams, 851 F.3d at 1021. NSO would then be “subject to jurisdiction in
21   an[other] state’s courts of general jurisdiction,” Fed. R. Civ. P. 4(k)(2)(A), and Rule 4(k)(2) would
22   not apply, Cargnani v. Pewag Austria G.m.b.H., 2007 WL 415992, at *10 (E.D. Cal. Feb. 5, 2007).
23          That aside, Westbridge’s marketing activities in the United States are neither substantial
24   enough nor closely enough related to Plaintiffs’ claims to support jurisdiction under Rule 4(k)(2),
25   even if they were attributed to NSO. Plaintiffs do not challenge Westbridge’s marketing standing
26   alone, and they do not claim any U.S. government agency violated the law by licensing and using
27   Pegasus. (Nor could Plaintiffs , since CFAA does not apply to U.S. law-enforcement activities. 18
28   U.S.C. § 1030(f).) Moreover, Westbridge’s marketing and selling of NSO’s products do not

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 1   constitute “extensive contacts” with the United States because NSO “also marketed in other
 2   countries.” Good Job Games Bilism Yazilim Ve Pazarlama A.S. v. SayGames LLC, 458 F. Supp.
 3   3d 1202, 1212 (N.D. Cal. 2020), rev’d on other grounds, 2021 WL 5861279 (9th Cir. Dec. 10,
 4   2021). Out of all of NSO’s Pegasus contracts,
 5                         (Akro. Exh. H at 148:16-21.) That            is too limited a contact with the
 6   United States to support jurisdiction “on a national scale.” Glencore Grain Rotterdam B.V. v.
 7   Shivnath Rai Harnarain Co., 284 F.3d 1114, 1127 (9th Cir. 2002) (“seven East Cost shipments”
 8   were too “few in number” to trigger Rule 4(k)(2)). 14 And again, if contacts
 9          were sufficient to create personal jurisdiction, then NSO would be subject to specific
10   jurisdiction in                     and Rule 4(k)(2) would not apply. Platinum Performance, Inc.
11   v. Pro Dev., GmbH, 2009 WL 10676261, at *6 (C.D. Cal. Jun 3, 2009).
12   II.      NSO is entitled to summary judgment on all claims based on the operational use of
13            Pegasus by NSO’s government customers.
14            Plaintiffs alleged in their Complaint that NSO itself operates Pegasus, another claim that
15   discovery proved to be untrue. Plaintiffs, however, continue to assert claims based on the use of
16   Pegasus to monitor the targets of governmental investigations. NSO is entitled to summary
17   judgment on all of these claims. As a threshold matter, Plaintiffs have no evidence that NSO ever
18   operated Pegasus to access any target user’s device. Even if Plaintiffs had such evidence, the act
19   of state doctrine would bar any claim challenging foreign governments’ use of Pegasus.
20            A.       Plaintiffs have no evidence NSO ever unlawfully used Pegasus.
21            Plaintiffs’ claims against NSO related to the use of Pegasus fail for the simple reason that
22   they cannot attribute any use of Pegasus to NSO.
23                                                         (Shohat Exh. A ¶ 2.4, Exh. B ¶ 2.4.) Plaintiffs
24

25

26   14
       Holland, 485 F.3d at 462 (“isolated incident” in Florida insufficient under Rule 4(k)(2)); accord
27   Michael Grecco Prods. Inc. v. ImageSelect B.V., 2024 WL 1640911, at *9-10 (C.D. Cal. Mar. 11,
     2024); St Andrews Links Ltd. v. Source & Design Int’l (UK) LTD, 2022 WL 11902199, at *4-5
28   (N.D. Cal. Oct. 20, 2022); Travelers Prop. Cas. Co. of Am. v. Apex Shipping Co. (NYC), 2020 WL
     5608476, at *6 (N.D. Cal. Aug. 31, 2020).
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 1   in the United States,
 2

 3                                                                                              does not rob
 4   those governments’ actions of their sovereign nature or eliminate their “governmental interest” in
 5   not having those actions questioned in U.S. courts. Philippine Nat’l Bank, 397 F.3d at 773; cf.
 6   Broidy, 982 F.3d at 594 (nation’s “surveillance and espionage against a national of another nation
 7   in that other nation” is sovereign conduct).
 8           Plaintiffs’ claims would improperly require this Court to “question the legality of . . .
 9   sovereign acts” by finding that governments’ uses of Pegasus were illegal. IAM, 649 F.2d at 1359.
10   The district court’s decision in Du Daobin v. Cisco Sys., 2 F. Supp. 3d 717 (D. Md. 2014), is
11   instructive. There, the plaintiffs sued Cisco for allegedly designing and selling a “surveillance
12   program” that China “used to detect, monitor, detain, suppress, and torture dissidents.” Id. at 720.
13   The court held the act of state doctrine barred the lawsuit. Although the plaintiffs sued only Cisco,
14   they “effectively ask[ed] the [c]ourt to decide that the Chinese government, with substantial
15   assistance from Cisco, has engaged in multiple violations of international law.” Id. at 726. The act
16   of state doctrine prohibited such “judicial interference” in the “official actions of the Chinese
17   government.” Id. Likewise here, Plaintiffs “ask[] the Court to decide the extent to which” NSO’s
18   “technology can be used . . . by foreign governments.” Id. The act of state doctrine forbids that result.
19   III.    NSO is entitled to summary judgment on Plaintiffs’ CFAA claim.
20           In addition to the other defects identified above, Plaintiffs’ CFAA claim cannot proceed for
21   other reasons. First, as this Court already held, Plaintiffs cannot prove a claim under CFAA’s
22   “without authorization” prong because NSO’s alleged agreement to WhatsApp’s TOS establishes
23   that NSO had authorization to access WhatsApp’s servers. (Dkt. 111 at 37.) Second, Plaintiffs
24   cannot prove a claim under CFAA’s “exceeds authorized access” prong because they have no
25   evidence that NSO circumvented any technical restrictions on WhatsApp’s servers to “obtain or
26   alter information in” the servers that NSO was “not entitled so to obtain or alter.” 18 U.S.C.
27   § 1030(e)(6). Third, NSO’s R&D after December 2018 was all
28                                                   , which CFAA does not prohibit. Id. § 1030(f).

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 1            A.     Plaintiffs cannot pursue a “without authorization” claim or a claim based on
 2                   WhatsApp’s terms of service.
 3            CFAA prohibits certain forms of computer access either “without authorization” or in a way
 4   that “exceed[s] authorized access.” 18 U.S.C. § 1030(a). In this Court’s motion to dismiss order,
 5   the Court dismissed Plaintiffs’ CFAA claims to the extent they alleged that NSO accessed
 6   WhatsApp’s servers “without authorization” because Plaintiffs contend that NSO agreed to
 7   WhatsApp’s TOS, which gave NSO “authorization to send messages . . . over WhatsApp’s
 8   servers.” (Dkt. 111 at 37.) The Court limited Plaintiffs to proceeding under CFAA’s “exceeds
 9   authorized access prong.” (Id. at 39.) Plaintiffs did not amend their complaint.
10            Despite this, Plaintiffs                   continue to assert that
11                                        This Court’s order forecloses that claim. When a court dismisses
12   a claim and the plaintiff does not amend its complaint, the plaintiff “cannot simply resurrect [that]
13   claim[]” after discovery. Chronic Tacos Enters., Inc. v. Chronic Tacos Huntington Beach, Inc.,
14   2011 WL 6010265, at *2 (C.D. Cal. Nov. 28, 2011). 17 Nor may a plaintiff “amend [its] complaint
15   through an opposition to a motion for summary judgment.” Id.; accord City of L.A. v. Bank of Am.
16   Corp., 2015 WL 4880511, at *5 (C.D. Cal. May 11, 2015). Thus, this Court’s motion to dismiss
17   order limits Plaintiffs to an “exceeds authorized access” claim; without having amended their
18   complaint, they may not reassert the “without authorization” claim this Court rejected.
19            That aside, this Court’s reasoning remains fatal to any “without authorization” claim. The
20   Court correctly applied Ninth Circuit law holding that “a person uses a computer ‘without
21   authorization’” only “when the person has not received permission to use the computer for any
22   purpose.” LVRC Holdings LLC v. Brekka, 581 F.3d 1127, 1135 (9th Cir. 2009) (emphasis added).
23   As long as a defendant “is authorized to use a computer for certain purposes,” its access to the
24   computer cannot be “without authorization”—even if the defendant violates limits the computer’s
25   owners placed on the defendant’s access. Id. at 1133. Plaintiffs have pleaded that NSO agreed to
26   WhatsApp’s TOS, which authorized NSO to access WhatsApp’s servers. (Dkt. 111 at 37.)
27
     17
28     Accord Natkin v. Am. Osteopathic Ass’n, 2024 WL 3510926, at *4 (D. Or. July 23, 2024);
     Bagdasaryan v. City of L.A., 2018 WL 6113104, at *14-15 (C.D. Cal. Oct. 22, 2018).
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 1

 2   (Akro. Exh. L at 129:15-130:23; McGraw Decl. ¶¶ 68-70, 73.) And
 3

 4

 5                    (McGraw Decl. ¶¶ 65-79.) The fact that
 6                                                                                                 Abu v.
 7   Dickson, 107 F.4th 508, 515 (6th Cir. 2024).
 8          Plaintiffs contend that NSO,
 9                                    That makes no sense (McGraw Decl. ¶ 79), and it exposes the fatal
10   flaw in Plaintiffs’ theory. At bottom, Plaintiffs’ claim is that
11

12                                              But CFAA enforces only “technological access barriers”
13   on particular areas of a computer, Nosal, 676 F.3d at 863, not “purpose-based limits” on the use of
14   a computer, Van Buren, 593 U.S. at 396. Because NSO was
15

16

17                                                       Abu, 107 F.4th at 518-19. Because NSO did not
18

19                                                                      cannot support a CFAA claim.
20          C.      CFAA’s law-enforcement exception shields NSO’s R&D after December 2018.
21          NSO is entitled to summary judgment on any CFAA claim based on its R&D activities after
22   December 2018 because those activities were
23                                                                            18 U.S.C. § 1030(f). When
24   the                                    in December 2018, one of the
25                   which required NSO to maintain Pegasus in an operational state
26   (Akro. Exh. N.) Moreover,
27                                            (Akro. Exh. M at 212:1-15.) Accordingly, NSO’s R&D
28   activities after December 2018 were required, authorized, and paid for

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 1                                                                                 Naicom Corp. v. Dish
 2   Network Corp., 2024 WL 1363462, at *29 (D.P.R. Mar. 29, 2024).
 3          In Naicom, private defendants “assisted federal law enforcement” by “penetrat[ing]” the
 4   plaintiff’s “servers and computers” and assisting with the execution of search warrants on the
 5   plaintiff’s computers. Id. at *1, 5-6. The plaintiff claimed these actions violated CFAA, but the
 6   court dismissed the CFAA claim under § 1030(f), finding that the defendants’ “conduct was
 7   ‘lawfully authorized investigative . . . activity.’” Id. at *29. The court rejected the plaintiff’s
 8   argument that the defendants were acting for their own private motives, holding that “the relevant
 9   inquiry is whether the [private] [d]efendants had authorization to access the information” from the
10   federal government. Id. at *29 n.17.
11

12   IV.    NSO is entitled to summary judgment on Plaintiffs’ CDAFA claim because Plaintiffs
13          cannot prove NSO knowingly took any action in California.
14          Finally, NSO is entitled to summary judgment on Plaintiffs’ CDAFA claim, which requires
15   Plaintiffs to prove NSO intentionally and unlawfully accessed a computer located in California.
16   California recognizes a “presumption against extraterritorial application,” under which California
17   statutes cannot apply “to occurrences outside the state” unless a contrary intent is “clearly expressed
18   or reasonably to be inferred from the language of the act or from its purpose, subject matter or
19   history.” Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207 (2011) (cleaned up). The Due Process
20   Clause of the U.S. Constitution also prohibits California from regulating foreign conduct. Phillips
21   Petrol. Co. v. Shutts, 472 U.S. 797, 818 (1985); Churchill Vill., LLC v. Gen. Elec. Co., 169 F. Supp.
22   2d 1119, 1126-27 (N.D. Cal. 2000). For those reasons, California law does not apply when “the
23   liability-creating conduct occurs outside of California.” Oman v. Delta Air Lines, Inc., 889 F.3d
24   1075, 1079 (9th Cir. 2018).
25          Because CDAFA contains no express language suggesting it applies extraterritorially, it
26   does not govern conduct outside of California. Nowak v. Xapo, Inc., 2020 WL 6822888, at *6 (N.D.
27   Cal. Nov. 20, 2020); Terpin v. AT&T Mobility, LLC, 399 F. Supp. 3d 1035, 1047-48 (C.D. Cal. 2019);
28   M Seven Sys. Ltd. v. Leap Wireless Int’l, Inc., 2013 WL 12072526, at *3 (S.D. Cal. June 26, 2013).

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 1   And while CDAFA covers several forms of computer-related misconduct, the minimum
 2   requirement for its prohibitions is “knowing[]” access to a computer. Cal. Penal Code § 502(c). For
 3   that conduct to occur within California, the defendant must knowingly access a computer in
 4   California. Otherwise, “the liability-creating conduct” would “occur[] outside of California,” and
 5   CDAFA would not apply. Oman, 889 F.3d at 1079. 18 That is true even when the plaintiff lives in
 6   California, because “the concept of extraterritoriality . . . concerns legislation that regulates conduct
 7   that occurs in a foreign jurisdiction—regardless of the plaintiff’s residency.” English v. Gen.
 8   Dynamics Mission Sys., 2019 WL 2619658, at *6 (C.D. Cal. May 8, 2019) (cleaned up). 19
 9            This rule dooms Plaintiffs’ CDAFA claim because they cannot prove NSO knowingly
10   accessed any California-based WhatsApp server. As discussed above, WhatsApp
11                          and NSO
12                                       Accordingly, any access to California servers by NSO would not
13   have been “knowing[],” as CDAFA requires. Moreover, any connection between NSO and
14   California-based WhatsApp servers would be purely fortuitous, and such incidental contact with
15   California would not “show a sufficient nexus between California and [NSO’s] alleged wrongful
16   conduct” to permit application of California law. Nowak, 2020 WL 6822888, at *6 (CDAFA did not
17   apply to hacking of plaintiff’s Bitcoin account even though account was in California); see Sajfr v.
18   BBG Comms., Inc., 2012 WL 398991, at *4 (S.D. Cal. Jan. 10, 2012) (California law did not apply
19   to foreign calls “routed through switches in the United States” and “rated and billed from San Diego”).
20                                                 Conclusion
21            The Court should grant NSO’s motion and enter judgment in NSO’s favor.
22    Dated: September 27, 2024                           KING & SPALDING LLP
23                                                        By: Joseph N. Akrotirianakis
                                                          JOSEPH N. AKROTIRIANAKIS
24                                                        AARON S. CRAIG
25                                                        Attorneys for Defendants

26   18
        See Terpin, 399 F. Supp. 3d at 1047 (dismissing CDAFA claim because plaintiff did “not allege
27   that the hacks . . . occurred in California”); M Seven, 2013 WL 12072526, at *3 (CDAFA did not
     apply to hacking of Korean computer).
     19
28      See Allergan, Inc. v. Athena Cosmetics, 738 F.3d 1350, 1358-59 (Fed. Cir. 2013) (California law
     did not apply to foreign sales, even if sales “cause[d] [plaintiff] an injury . . . in California”).
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